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                     THE UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

In re:                                         §
                                               §
TRAILHEAD ENGINEERING                          §              Case No. 18-32414
LLC,                                           §
                                               §              (Chapter 7)
                      DEBTOR.                  §
                                               §

              TRUSTEE’S MOTION FOR ORDER AUTHORIZING SALE OF
                 VEHICLE AND SATISFACTION OF LIEN THEREON

         THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT
         YOU. IF YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY
         CONTACT THE MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU
         AND THE MOVING PARTY CANNOT AGREE, YOU MUST FILE A
         RESPONSE AND SEND A COPY TO THE MOVING PARTY. YOU MUST
         FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE DATE
         THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE WHY THE
         MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A TIMELY
         RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT FURTHER
         NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND HAVE NOT
         REACHED AN AGREEMENT, YOU MUST ATTEND THE HEARING.
         UNLESS THE PARTIES AGREE OTHERWISE, THE COURT MAY
         CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE THE
         MOTION AT THE HEARING.

         REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

TO THE HONORABLE MARVIN ISGUR, UNITED STATES BANKRUPTCY JUDGE:

         Ronald J. Sommers, chapter 7 trustee (the “Trustee”) of the estate of Trailhead

Engineering LLC (the “Debtor”), files this Motion for Order Authorizing Sale of Vehicle and

Satisfaction on Lien Thereon (the “Motion”) and respectfully states as follows:

                                       JURISDICTION

         1.    The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This

Motion is a core proceeding pursuant to 28 U.S.C. § 157(b).




MOTION TO SELL VEHICLE                                                            Page 1 of 4
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       2.      Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

       3.      The statutory bases for the relief requested in this Motion are §§ 105(a) and 363

of title 11 of the United States Code (“Bankruptcy Code”).

                                     CASE BACKGROUND

       4.      On May 3, 2018 (“Petition Date”), the Debtor filed a voluntary petition for relief

under chapter 7 of the Bankruptcy Code thereby commencing the Chapter 7 Case.

       5.      The United States Trustee appointed Ronald J. Sommers as the chapter 7 trustee

for the Debtor’s estate on the Petition Date.

                                       PROPOSED SALE

       6.      The Debtor’s estate includes a 2012 Jeep Grand Cherokee Overland Edition with

86,000 miles (the “Vehicle”). The Vehicle is currently located in Utah.

       7.      The Vehicle is in fair condition, though it was involved in a minor accident and

has a broken passenger mirror and a malfunctioning door hinge.            The Kelley Blue Book

estimated value of the Vehicle is approximately $11,000.00.

       8.      Because the Debtor is liquidating, it has no need for the Vehicle.

       9.      Tom Gardner, an individual, has offered to purchase the Vehicle on an “as-is,

where-is” basis for $10,000 cash.

       10.     The Trustee believes the Vehicle is subject to a lien in favor of TD Auto Finance

and is in the process of determining the amount of such secured claim. On its Schedule D, the

Debtor stated that the amount of TD Auto Finance’s lien as of May 3, 2018 was $4,713.00. ECF

No. 1 at 18.

       11.     The Trustee proposes that the lien attach to the proceeds from the sale of the

Vehicle and that he be authorized to satisfy the lien with the proceeds from the Vehicle’s sale.




MOTION TO SELL VEHICLE                                                                 Page 2 of 4
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                                      RELIEF REQUESTED

         12.      Pursuant to 11 U.S.C. § 363, the Trustee respectfully requests the Court enter an

order substantially in the form attached hereto authorizing the Trustee to sell the Vehicle and

satisfy TD Auto Finance’s lien with the sale proceeds.

                                       BASIS FOR RELIEF

         13.      A trustee may sell, after notice and a hearing, a debtor’s assets outside the

ordinary course of business. 11 U.S.C. § 363(b)(1). Generally, to obtain approval of a proposed

sale of assets, a trustee must “satisfy its fiduciary duty to the debtor, creditors and equity holders,

[by articulating some] business justification for using, selling, or leasing the property outside the

ordinary course of business.” In re Continental Air Lines, Inc., 780 F.2d 1223, 1226 (5th Cir.

1986).

         14.      Selling the Vehicle to Mr. Gardner is the most efficient way to maximize values

for the Debtor’s estate. First, selling to Mr. Gardner allows the Trustee to avoid having to pay

auction commissions, which range from between 10% and 35% of the ultimate sale price.

Further, many auctioneers charge additional fees for maintaining or storing items. The Trustee

will not have to pay those fees when selling to Mr. Gardner. Second, selling to Mr. Gardner will

result in an immediate cash infusion to the Estate. Third, the Vehicle is located in Utah, and Mr.

Gardner has agreed to take possession of the Vehicle after its sale, allowing the Trustee to avoid

transportation costs. Fourth, the Trustee believes that the $10,000 is reasonable considering the

Vehicle’s Kelley Blue Book value, the circumstances of this Chapter 7 Case, and the condition

of the Vehicle.

         15.      The Trustee should also be authorized to pay TD Auto Finance’s lien because the

sale proceeds will be sufficient to satisfy the lien.




MOTION TO SELL VEHICLE                                                                     Page 3 of 4
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         16.   Thus, in the Trustee’s business judgment, selling the Vehicle to Gardner will

result in the best recovery for the Debtor’s estate and its creditors and should be approved under

§ 363.

                                         CONCLUSION

         17.   Accordingly, the Trustee respectfully requests that the Court enter an order,

substantially in the form of the proposed order attached to this Motion, authorizing the Trustee to

sell the Vehicle to Gardner and satisfy the lien thereon with proceeds from the sale.

Dated: May 11, 2018                                  Respectfully submitted,

                                                     DIAMOND McCARTHY LLP

                                                     /s/ Michael D. Fritz
                                                     Kyung S. Lee
                                                     TBA No. 12128400
                                                     klee@diamondmccarthy.com
                                                     Michael D. Fritz
                                                     TBA No. 24083029
                                                     mfritz@diamondmccarthy.com
                                                     Two Houston Center
                                                     909 Fannin, 37th Floor
                                                     Houston, TX 77010
                                                     Telephone: (713) 333-5100
                                                     Facsimile: (713) 333-5199

                                                     Counsel for Ronald J. Sommers, Chapter 7
                                                     Trustee for Trailhead Engineering LLC


                                CERTIFICATE OF SERVICE

      The undersigned hereby certifies that on May 11, 2018, a true and correct copy of this
Motion was served on all parties registered to receive service through the CM/ECF system.

                                                                    /s/ Michael D. Fritz
                                                                       Michael D. Fritz




MOTION TO SELL VEHICLE                                                                  Page 4 of 4
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                      PROPOSED ORDER
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                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION


In re:                                                    §
                                                          §
TRAILHEAD ENGINEERING                                     §           Case No. 18-32414
LLC,                                                      §
                                                          §           (Chapter 7)
                            DEBTOR.                       §
                                                          §

                             ORDER AUTHORIZING SALE OF VEHICLE
                              AND SATISFACTION OF LIEN THEREON
                                  (This Order relates to ECF No. [●].)

           The Court, having considered the Trustee’s Motion for Order Authorizing Sale of Vehicle

and Satisfaction on Lien Thereon (the “Motion”), 1 any responses to the Motion, the statements of

counsel, and the record in this case, and having held a hearing on the Motion, finds that: (a) it has

jurisdiction over this matter pursuant to 28 U.S.C. § 1334; (b) this is a core proceeding pursuant

to 28 U.S.C. § 157(b)(2); (c) the relief requested in the Motion is in the best interests of the

Debtor’s estate, its creditors, and other parties-in-interest; (d) proper and adequate notice of the

Motion and hearing hereon has been given and no other or further notice is necessary; and

(e) good and sufficient cause exists for the granting of the relief requested. Therefore, it is

ORDERED that:

           1.      The sale of the Vehicle by the Trustee to Mr. Tom Gardner for $10,000 cash is

hereby APPROVED and Mr. Gardner is directed to pay the Trustee $10,000 for the Vehicle,

which Vehicle shall be sold free and clear of all liens, claims and encumbrances, and the lien and

security interest of TD Auto Finance shall attach to the $10,000.00.




1
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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       2.      The Trustee is authorized to satisfy the lien in favor of TD Auto Finance with the

proceeds from the sale of the Vehicle.

       3.      The Trustee and Mr. Tom Gardner are authorized to take any actions reasonably

necessary to effectuate the relief granted by this order, including but not limited to executing tile

transfer documents, bills of sale, and/or similar documents.

       4.      The Court retains jurisdiction to hear and determine all disputes arising from or

related to the implementation, interpretation, or enforcement of this order.

Dated: ________________, 2018

                                              __________________________________________
                                                UNITED STATES BANKRUPTCY JUDGE
